




NO. 07-04-0342-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JULY 7, 2004



______________________________





IN RE RICKY DEAN ALEXANDER, RELATOR



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

By this original proceeding, relator Ricky Dean Alexander, proceeding 
pro se
 and 
 in forma pauperis
, seeks a writ of mandamus against respondent Zona Prince, the Childress County District Clerk. &nbsp;Specifically, he requests that we direct her to answer his petition for writ of habeas corpus allegedly filed on March 29, 2004, by which he challenged a 1975 judgment in cause number 9640 as being void for enhancement purposes. &nbsp;We dismiss the petition.

By statutory grant a
 court of appeals has the authority to issue writs of mandamus against a judge of a district or county court in the court of appeals' district and all writs necessary to enforce its jurisdiction. &nbsp;Tex. Gov't Code Ann. § 22.221(b) (Vernon Supp. 2004). &nbsp;In order for a district clerk to fall within our jurisdictional reach, it must be established that the issuance of the writ of mandamus is necessary to enforce our jurisdiction. &nbsp;In re Coronado, 980 S.W.2d 691, 692-93 (Tex.App.–San Antonio 1998, no pet.). &nbsp;Relator has not demonstrated that the exercise of our mandamus authority against the Childress County District Clerk is appropriate to enforce our jurisdiction &nbsp;&nbsp;Consequently, we have no authority to issue a writ of mandamus against her.
 &nbsp;

Furthermore, an original proceeding filed in this Court must comply with the requirements of Rule 52 of the Texas Rules of Appellate Procedure. &nbsp;Rule 52.3(j)(1)(A) requires that the petition be accompanied by certified or sworn copies of any orders complained of. &nbsp;Tex. R. App. P. 52.3(j)(1)(A). &nbsp;All documents and exhibits attached to relator’s petition for writ of mandamus are retyped copies of alleged originals. 

Accordingly, the petition for writ of mandamus is dismissed.



Don H. Reavis

 &nbsp;&nbsp;&nbsp;Justice






